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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 LOUIS J. DECOSMO
                               Plaintiff,
                                                   No. 22-cv-7509
                      v.
 NEW YORK PRESBYTERIAN                             DECLARATION OF
 HOSPITAL                                          KENNETH THIBAULT

                               Defendant.


             Kenneth Thibault, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.    I am a Vice President, Information Technology of The New York

 Presbyterian Hospital s/h/a New York Presbyterian Hospital (“NYPH”). I

 respectfully submit this Declaration in support of Defendant’s motion to dismiss

 Plaintiff’s Complaint. I state the following facts based on my personal knowledge.

       2.    NYPH is a not-for-profit hospital incorporated and based in the State

 of New York with its principal place of business in New York.

       3.    While NYPH has more than 200 healthcare provider locations in New

 York, it does not have any such location in New Jersey.

       4.    From approximately 2004 to 2014, one of Plaintiff Louis J.

 DeCosmo’s job responsibilities included managing NYPH’s data center in

 Carlstadt, New Jersey (the “Carlstadt Data Center”).

       5.    Plaintiff worked on-site at the Carlstadt Data Center only occasionally
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 and never had an office there. In fact, the Carlstadt Data Center did not have any

 employee office. Plaintiff’s assigned office was at NYPH’s corporate offices, 333

 E 38th St, New York, New York, at all times during his employment.

       6.     Other than his work concerning the Carlstadt Data Center, Plaintiff

 had no job responsibility requiring him to be on-site in New Jersey.

       7.     In or around December 2014, Plaintiff ceased to have any

 responsibility over the Carlstadt Data Center.

       8.     At all times throughout his tenure at NYPH from approximately 1982

 to 2021, Plaintiff reported to a team based in New York, including when Plaintiff

 submitted a request for a religious exemption from NYPH’s COVID-19

 Vaccination Program in July 2021.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

 foregoing is true and correct.



                      27 2023 in New York, New York.
 Executed on February ___,



                                                         ___________________________

                                                                   Kenneth Thibault




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